 Case 16-39654       Doc 557   Filed 12/16/21 Entered 12/17/21 08:52:48             Desc Main
                                Document       Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )              BK No.: 16-39654
ARGON CREDIT, LLC, et al.                     )              (Jointly Administered)
                                              )              Chapter: 7
                                              )
                                                             Honorable Deborah L. Thorne
                                              )
                                              )
                 Debtor(s)                    )
         ORDER GRANTING MOTION FOR ENTRY OF AN ORDER PURSUANT TO
                 BANKRUPTCY RULE 9019 APPROVING SETTLEMENT WITH
                SEAN TOMASZKIEWICZ AND BLUE TREBLE SOLUTIONS, LLC
       This matter coming before the Court upon the motion (the “Motion”) of Karen R. Goodman (the
“Trustee”), the chapter 7 Trustee in the above-captioned cases, for entry of an order approving the
Trustee's settlement with Sean Tomaszkiewicz (“Tomaszkiewicz”) and Blue Treble Solutions, LLC
(“Blue Treble” together with Tomaszkiewicz, the “Settling Defendants”); due and proper notice having
been given under the circumstances and for good cause appearing;

      IT IS HEREBY ORDERED that:

        1) The settlement between the Trustee and the Settling Defendants, the terms of which are set
forth in the Settlement Agreement attached to the Motion as Exhibit 1, is hereby approved.




                                                         Enter:


                                                                  Honorable Deborah L. Thorne
Dated: December 16, 2021                                          United States Bankruptcy Judge

 Prepared by:
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